                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ARBUTUS BIOPHARMA CORPORATION                          :
and GENEVANT SCIENCES GMBH,                            :
                                                       :       CIVIL ACTION
                               Plaintiffs,             :
                                                       :
               v.                                      :
                                                       :       NO. 22-252
MODERNA, INC. and MODERNATX, INC.,                     :


                                               ORDER

       AND NOW, this 10th day of March, 2023, upon consideration of the supplemental letter briefs

filed by the parties and the U.S. Government (D.I. 57, 58, 59), the two proposed Amicus Briefs (D.I.

56-2 and D.I. 61-1), and Defendants’ Response in Opposition to the Motions for Leave to File Amicus

Briefs (D.I. 62), it is hereby ORDERED that:

   1. The Motions for Leave to File Amicus Briefs (D.I. 56 and 61) are GRANTED;

   2. Any requested reconsideration of the November 2, 2022 Memorandum and Order in light of the

       Government’s Statement of Interest is DENIED;

   3. A Pretrial Scheduling Conference will be held on Thursday, March 16, 2023 at 10:00 a.m. The

       conference will be conducted via telephone and held on the record. Counsel are directed

       to dial in as follows: (1) Call: 888-684-8852; (2) Enter access code: 2187450#; (3) Press

       # to enter as a participant.



                                                       BY THE COURT:



                                                       /s/ Mitchell S. Goldberg

                                                       MITCHELL S. GOLDBERG
